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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

AMAZON WEB SERVICES, INC.,                       )
                                                 )
               Plaintiff,                        )
                                                 )
               v.                                )              No. 19-1796C
                                                 )     (Judge Patricia E. Campbell-Smith)
THE UNITED STATES,                               )
                                                 )
               Defendant,                        )
                                                 )
and                                              )
                                                 )
MICROSOFT CORPORATION,                           )
                                                 )
               Intervenor-defendant.             )

                    DEFENDANT’S MOTION FOR VOLUNTARY REMAND

       Pursuant to Rule 52.2 of the Rules of the United States Court of Federal Claims,

defendant, the United States, respectfully requests that the Court remand this case to the

Department of Defense (DoD or agency) for 120 days to reconsider certain aspects of the

challenged agency decision. We are making this motion in response to the complaint and motion

for preliminary injunction filed by plaintiff, Amazon Web Services, Inc. (AWS), and this Court’s

opinion and order preliminarily enjoining performance of DoD’s Joint Enterprise Defense

Infrastructure (JEDI) contract, ECF No. 164. In email correspondence with the undersigned

counsel on March 12, 2020, counsel for AWS stated that AWS opposes this motion and will file

a response. In email correspondence with the undersigned counsel on March 12, 2020, counsel

for intervenor-defendant, Microsoft Corporation, stated that Microsoft does not oppose this

motion.

       AWS filed this post-award bid protest challenging various aspects of the award decision

made by DoD in connection with the JEDI procurement, Solicitation No. HQ0034-18-R-0077.
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On February 13, 2020, the Court granted AWS’s motion for a preliminary injunction, finding,

among other things, that AWS would likely be able to show that DoD erred in evaluating the

offerors’ proposals for Factor 5, Price Scenario 6. DoD wishes to reconsider its evaluation of the

technical aspects of Price Scenario 6, and intends to issue a solicitation amendment and to accept

limited proposal revisions addressing the offerors’ technical approach to that price scenario.

Proposal revisions on remand will be constrained by the storage solutions and unit prices

contained in offerors’ final proposal revisions (i.e. offerors would not be permitted to add storage

solutions not contained in their final proposal revisions, but may be permitted to adjust which

previously-proposed solutions would be utilized to address Price Scenario 6). DoD will re-

evaluate any revised proposals for Price Scenario 6 under both Factor 5 and Factor 9.

       DoD also wishes to reconsider its evaluation of the offerors’ online marketplace offerings

and may conduct clarifications with the offerors relating to the availability of marketplace

offerings.

       Finally, DoD wishes to reconsider its award decision in response to the other technical

challenges presented by AWS. DoD does not intend to conduct discussions with offerors or to

accept proposal revisions with respect to any aspect of the solicitation other than Price Scenario

6. At this time, DoD does not anticipate clarifications being necessary on issues other than the

offerors’ online marketplace offerings.

        This Court has “the power to remand appropriate matters to any administrative or

executive body or official with such direction as it may deem proper and just.” 28 U.S.C.

§ 1491(a)(2); see also RCFC 52.2(a). A remand here is in the interests of justice because it will

provide the agency with an opportunity to reconsider the award decision at issue in light of

AWS’s allegations, this Court’s opinion, and any new information gathered during the proposed




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remand. During the proposed remand, the agency potentially could make decisions that would

moot this action, in whole or in part, and may obviate the need for further litigation in this Court.

Therefore, we have requested a remand in good faith. See SKF USA Inc. v. United States, 254

F.3d 1022, 1028-30 (Fed. Cir. 2001) (reversing trial court’s denial of a remand motion as an

abuse of discretion, explaining: “even if there are no intervening events, the agency may request

a remand (without confessing error) in order to reconsider its previous position”). When, as in

this case, “the agency’s concern is substantial and legitimate, a remand is usually appropriate.”

Id. at 1029; see also Diversified Maint. Sys., Inc. v. United States, 74 Fed. Cl. 122, 127 (2006)

(noting that “[t]he circumstances found not to require remand have been rare indeed” and citing

cases).

          Following the conclusion of the proposed remand proceeding, we propose that the parties

file a joint status report setting forth the positions of the parties regarding whether further

litigation is necessary and, if so, a proposed date for defendant to file the administrative record

associated with the remand proceedings, as well as a schedule for merits briefing, anticipated to

include cross-motions for judgment on the administrative record (MJARs). As DoD, on remand,

will be reconsidering the technical evaluations that AWS has challenged and will be

reconsidering its award decision, briefing MJARs at this point would be futile and would waste

the time and resources of the parties and the Court. Indeed, because reconsideration could

change DoD’s reasoning or result, a stay of proceedings in this case during the pendency of the

remand is appropriate.

          For these reasons, we respectfully request that the Court (1) grant this motion for a

voluntary remand pursuant to RCFC 52.2, (2) remand this matter to DoD for reconsideration of

the award decision and any further administrative actions consistent with that reconsideration,




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(3) authorize, but not require, DoD to consider any further information that the agency may

gather during the remand in accordance with any procedures that the agency may establish for

that purpose, (4) establish the initial duration of the remand at 120 days from the date of this

Court’s remand order, which may be extended upon request if necessary, and (5) order the

parties to file a joint status report within seven days following the conclusion of the remand

proceeding that sets forth the parties’ positions regarding whether further litigation is necessary,

and, if so, proposed dates for defendant to file the administrative record associated with the

remand proceedings and for further briefing.

                                                  Respectfully submitted,

                                                  JOSEPH H. HUNT
                                                  Assistant Attorney General

                                                  ROBERT E. KIRSCHMAN, JR.
                                                  Director

                                                  s/ Patricia M. McCarthy
                                                  PATRICIA M. MCCARTHY
OF COUNSEL:                                       Assistant Director

MICHAEL G. ANDERSON                               s/ Anthony F. Schiavetti
BENJAMIN M. DILIBERTO                             ANTHONY F. SCHIAVETTI
Assistant General Counsel                         RETA BEZAK
Washington Headquarters Service &                 Trial Attorneys
Pentagon Force Protection Agency                  U.S. Department of Justice
Office of General Counsel                         Civil Division
Department of Defense                             Commercial Litigation Branch
                                                  PO Box 480
TYLER J. MULLEN                                   Ben Franklin Station
CCPO Legal Advisor                                Washington, D.C. 20044
Assistant General Counsel                         Tel: (202) 305-7572
Defense Information Systems Agency                Fax: (202) 305-1571
Office of the General Counsel                     anthony.f.schiavetti@usdoj.gov

March 12, 2020                                    Attorneys for Defendant




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